Case 0:17-cv-60426-UU Document 353 Entered on FLSD Docket 11/20/2018 Page 1 of 9




                             IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                     Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


  DEFENDANTS’ REPLY IN SUPPORT OF MOTION IN LIMINE NO. 4 TO PRECLUDE
      PLAINTIFFS FROM OFFERING EVIDENCE OF DAMAGES ALLEGEDLY
   INCURRED BY ENTITIES OTHER THAN PLAINTIFFS XBT HOLDING S.A. AND
        WEBZILLA, INC. AND INCORPORATED MEMORANDUM OF LAW
            Plaintiffs’ opposition amounts to the argument that corporate law is whatever they say it
  is. Tellingly, Plaintiffs never cite a single case that supports any of their arguments, because
  there are none. Instead, Plaintiffs offer a potpourri of self-serving, conclusory statements
  ranging from what holding companies supposedly are to what should happen if Warren Buffett
  was falsely accused of torturing kittens in his office. None have any basis in law or fact.
            The issue is simple. Plaintiff XBT elected to organize itself as a holding company
  whereby its only “value” is the value of the shares in the subsidiaries it owns. But for strategic
  purposes Plaintiffs elected to name just one of those subsidiaries, Webzilla, Inc., as a plaintiff in
  this lawsuit, and not name any of the others. As a result, black-letter principles of corporate law
  dictate that XBT cannot claim as damages to itself losses that were actually incurred by non-
  party subsidiaries.
                                               ARGUMENT
  I.        XBT MAY NOT RECOVER THE DAMAGES OF ITS NON-PARTY
            SUBSIDIARIES
            A.        XBT Is Seeking To Recover Damages Incurred Entirely By Its Subsidiaries

            First, Plaintiffs appear to assign mystical significance to the fact that XBT is a “holding
  company.” Opp. at 2. However, all parent corporations own (i.e. “hold”) the shares of their
Case 0:17-cv-60426-UU Document 353 Entered on FLSD Docket 11/20/2018 Page 2 of 9




  subsidiaries, and all are subject to the principle that a parent company may not assert claims
  belonging to a related to subsidiary corporation. See Elandia Int’l, Inc. v. Koy, 2010 WL
  2179770, at *6 (S.D. Fla. Feb. 22, 2010). This fundamental principle—that a corporate veil
  separates distinct companies—applies equally to “holding companies.” See In re Hillsborough
  Holdings Corp., 176 B.R. 223, 244–45 (M.D. Fla. 1994) (“Upon an extensive review of
  applicable case law, the Court concludes that to pierce a corporate veil under either Florida or
  Delaware law, a claimant must establish that the parent corporation engaged in improper conduct
  by intentionally utilizing the subsidiary's corporate form to defraud creditors or engage in other
  wrongful activities.”).
          The rest of Plaintiffs’ argument essentially turns on one assertion of purported fact: that
  “part of XBT’s value as a business is made up of its subsidiaries, but that does not mean the
  damage that XBT itself suffered to its own value is the damages of its subsidiaries.” Opp. at 2.
  On that basis, Plaintiffs assert that “[a]ccordingly . . . Plaintiffs are not ‘seek[ing] damages
  incurred by subsidiaries.’” Id. Even on their face, those assertions make no sense. If even
  “part” of XBT’s value was its subsidiaries, how could a loss in XBT’s value reflect anything
  other than, at least in “part,” the lost value of its subsidiaries?
          In any event, it is telling that Plaintiffs never state what “part” of XBT’s “value as a
  business” is supposedly made up of anything other than the value of its subsidiaries. That is
  because there is no such “part.” XBT does not conduct any business itself, and so all revenue is
  actually earned by subsidiaries. So as Plaintiffs’ own CFO confirms, XBT’s “value” is entirely
  the sum of the values of its subsidiaries. Likewise, if profits were used as the measure of XBT’s
  financial performance, it has no profits itself; all its “profits’ are actually earned by its
  subsidiaries:

          Q:      [D]oes XBT Holding SA enter into contracts with customers? Does it
                   conduct any of the business of the company that generates revenue for the
                   consolidated entity?

          A:       No.

          Q:       It does not. It is accurate that all of the actual revenue of the consolidated
                  entity is generated by the various subsidiaries?

          A:       Correct.




                                                      2
Case 0:17-cv-60426-UU Document 353 Entered on FLSD Docket 11/20/2018 Page 3 of 9




  Dkt. 270-2 (Mishra Dep. at 31:4-12). Thus, Plaintiffs’ CFO also confirmed that the only way to
  tell where the profits stated on XBT’s consolidated financial statements were earned would be to
  review the separate financial statements of each subsidiary that actually earned them:

         Q:      How would you learn as the CFO of company the answer to the question,
                 which subsidiaries actually primarily contribute to the profit of the
                 consolidated entity?

         A:      I would look at the financial statement.

         Q:      Which financial statement?

         A:      The individual financial statement.

         Q:      Of each subsidiary, right?

         A:      Yes.

  Id. (Mishra Dep. at 122:12-20). The same point is made in the opening paragraph of XBT’s
  Consolidated Financial Statements:

         We have audited the accompanying consolidated financial statements of XBT
         Holding S.A. (the "Company") and its subsidiaries (the "Group"), which are
         presented on pages 5 to 46 and comprise the consolidated statement of financial
         position as at 31 December 2017, and the consolidated statements of profit or loss
         and other comprehensive income, changes in equity and cash flows for the year
         then ended, and notes to the consolidated financial statements, including a
         summary of significant accounting policies.

  Ex. 1 at 4. See also id. at 12 (“The consolidated financial statements for the year ended 31
  December 2017 consist of the financial statements of the Company and its subsidiaries.”).

         Plaintiffs assert that their expert, Jeffrey Anderson, estimated the lost business value of
  XBT, not any XBT subsidiary. Opp. at 2. But Anderson himself begs to differ. The basis of
  Anderson’s calculations was comparing the revenues and expenses stated in XBT’s consolidated
  financial statements with the revenues and expenses in its consolidated financial projections. See
  Dkt. 260 at 2-5. As noted above, those revenues and expenses were actually earned and incurred
  by XBT’s subsidiaries, not XBT itself. Thus, Anderson’s estimate calculation of XBT’s
  supposed “lost business value” simply summed up the business value of all the subsidiaries:




                                                   3
Case 0:17-cv-60426-UU Document 353 Entered on FLSD Docket 11/20/2018 Page 4 of 9




         Q;      And in your estimate of business value, right, is an estimate for as an
                 accountant would call it, the consolidated company? Is that fair?

         A:      It’s a fair market value of XBT and its subsidiaries.

         Q:      And all of its subsidiaries? Right?

         A:      Correct.

  Ex. 2 (Anderson Dep. at 64:21-65:3). This testimony also demonstrates why Plaintiffs’ claim
  that “XBT is seeking damages to its own business value—not any damages suffered by any
  subsidiaries other than Webzilla”, Opp. at 3, is likewise flatly wrong. In fact, Plaintiffs
  contradict themselves even within their 4-page Opposition. On page two they say they “are not
  ‘seek[ing] damages incurred by subsidiaries.’” But as noted above, on the next page, they say
  that XBT’s business value somehow includes Webzilla, Inc.—which is a subsidiary – but not any
  others. None of those claims are accurate, because all of XBT’s damages are merely the sum of
  alleged damage to its subsidiaries.

         B.      As a Matter of Law, XBT May Not Claim Damages Actually Incurred By Its
                 Subsidiaries

         The rest of Plaintiffs’ arguments seem to essentially say that even if XBT is seeking
  damages incurred by its subsidiaries, it should be allowed to do so because any other result
  would be an unfair “Catch-22.” The law of course is to the contrary and for fair reasons.
  Corporations like XBT gain considerable legal and tax advantages by organizing themselves into
  multiple subsidiaries whose separate existence the law protects, so it is hardly unfair to require
  them to respect those distinctions when they bring lawsuits.
         But even ignoring that, Plaintiffs are wrong about the equities here because their
  arguments misstate the basis for Defendants’ motion. Plaintiffs claim that Defendants argue that
  XBT’s subsidiaries cannot recover damages because they were not identified by name in the
  Dossier. Opp. at 2 n. 2. Not so. Defendants recognize that the Dossier referenced XBT’s
  “affiliates,” and so we do not dispute that any or all of those affiliates could have standing to sue.
  Rather, Defendants are simply saying that if Plaintiffs wanted to seek damages for any or all of
  XBT’s affiliates, they needed to include them as plaintiffs in this lawsuit. Plaintiffs cannot join
  just one of its affiliates, Webzilla Inc., and then pretend that all the others have no independent
  corporate existence.


                                                    4
Case 0:17-cv-60426-UU Document 353 Entered on FLSD Docket 11/20/2018 Page 5 of 9




         Tellingly, Plaintiffs offer no response at all to the point that they are trying to have it both
  ways. If XBT can recover its claimed “lost business value” without reference to any of its
  subsidiaries, then why join Webzilla, Inc. as a plaintiff? Moreover, why just Webzilla, Inc.—and
  not the other half dozen “Webzillas” around the world? And why file the identical suit in
  London, but join two other Webzillas? The answers are obvious. Plaintiffs want the courts to
  recognize the distinct corporate identities of their subsidiaries when it benefits them strategically,
  by joining what they treat as a distinct Florida company in this suit and European companies in
  their London litigation. They cannot then demand that the Court ignore those distinctions merely
  because it would not suit other strategic goals.

         Indeed, even after this lawsuit was filed Plaintiffs have continued to play that same game.
  For example, for purposes of producing witnesses for depositions, Plaintiffs took the position
  that they only have an obligation to produce employees of XBT or Webzilla, Inc. in Florida,
  since those entities are the only named parties in this lawsuit. As a result, the depositions of
  Gubarev, Mishra, Bezruchenko, and Luchian took place in Miami, because those witnesses are
  all employed by one of the Plaintiff parties.
         However, Plaintiffs refused to produce any witnesses in this jurisdiction who they said
  were employed by other XBT subsidiaries, on the ground that all those subsidiaries are non-
  parties. See Ex. 3 (3/7/18 email from Plaintiffs’ counsel regarding Joechem Steman, CEO of
  Datacenter.com: “As for Mr. Steman, he is in Cyprus and is not an employee of any of the
  Plaintiffs. Accordingly, he can be deposed in Cyprus or by Skype.”); Ex. 4 (2/1/18 email from
  Plaintiffs’ counsel regarding Mark Goedrich: “Mr. Goedrich, he is the CEO of Root S.A., a non-
  party wholly owned subsidiary of XBT, located in Luxemburg (where Mr. Goedrich lives and
  works). Please let us know what date would be convenient for you to depose him in
  Luxemburg.”). Plaintiffs even refused to produce Nikolay Dvas in Florida, even though by that
  point he was CEO, on the grounds that “prior to January 1, 2018 he was not an employee of any
  of the plaintiffs. Accordingly, he can be deposed in Cyprus where he lives and works.” Ex. 5
  (3/9/18 email from Plaintiffs’ counsel). Prior to 2018, Dvas had been the CEO of Servers.com, a
  group of XBT subsidiaries. As a result, at considerable expense, Defendants’ counsel spent a
  week traveling to Cyprus to depose all of those witnesses. If it is fairness Plaintiffs are after, it
  would be unfair to permit Plaintiffs to litigate this lawsuit as if none of its subsidiaries were
  parties, but then seek damages incurred by all of them.


                                                     5
Case 0:17-cv-60426-UU Document 353 Entered on FLSD Docket 11/20/2018 Page 6 of 9




          Next, Plaintiffs posit a hypothetical: if Warren Buffett was falsely accused of torturing
  kittens in his office, would not Berkshire Hathaway have a cause of action and furthermore,
  would not Berkshire Hathaway be able to recover pecuniary losses that were actually incurred by
  Fruit of the Loom, Dairy Queen, and Geico? The answer to the first question is it would depend
  on what exactly was alleged1, and the answer to the second—the only hypothetical question
  relevant here—is certainly not. In fact, this hypothetical illustrates Defendants’ point. Berkshire
  Hathaway actively resists assuming any legal responsibility for the acts of such subsidiaries
  because they are legally separate entities. See, e.g., Kaul v. Christie, 2017 WL 2953680 (D.N.J.
  June 30, 2017) (granting Berkshire Hathaway’s motion to dismiss, but not GEICO’s, because the
  two are separate legal entities); Benson v. Amguard Ins. Co., 2017 WL 2672078, at *5 (D. Del.
  June 21, 2017) (granting motion to strike portions of plaintiff’s complaint that reference
  defendant Amguard Insurance Company’s parent company, Berkshire Hathaway, and Warren
  Buffet, because neither is a defendant in the case and each is a distinct legal entity from
  Amguard Insurance Company). In short, Warren Buffett would be no more entitled to have his
  cake and eat it too than Plaintiffs are.
          Next, Plaintiffs’ only reference to any case law at all is an attempt to distinguish just one
  of the cases Defendants cited, Mobius Risk Grp. LLC v. Global Clean Energy Holdings, Inc.,
  2011 WL 3568074 (S.D. Tex. Aug. 15, 2011). Plaintiffs claim Mobius is distinguishable
  because in that case, the parent company sought to recoup the costs of land that was purchased
  entirely by subsidiaries, and so “the damage was actually suffered by the subsidiaries of the
  plaintiff—not the plaintiff.” Opp. at 3.
          Far from distinguishable, Plaintiffs seek exactly the same type of damages here as the
  plaintiff company in Mobius did. Generally, all the lost revenues that Plaintiffs’ expert
  calculates as lost business value (“LBV”) are those of XBT’s subsidiaries. And even at the most
  granular level, the damages Plaintiffs seek are just like the ones in Mobius. For example,
  Anderson testified at his deposition that he knew of only one specific instance in which Plaintiffs
  were supposedly subjected to increased scrutiny by banks. But the bank accounts at issue
  belonged to XBT subsidiaries Webzilla BV and Webzilla Limited – neither of which is a party to


  1
   Generally, a corporation cannot sue for defamation simply because one of its principals was
  defamed, even if the corporation might have suffered some injury. See, e.g, Eyal v. Helen
  Broadcasting Corp., 411 Mass. 426 (1991).


                                                    6
Case 0:17-cv-60426-UU Document 353 Entered on FLSD Docket 11/20/2018 Page 7 of 9




  this lawsuit. Ex. 2 (Anderson Dep. at 144:15-24). In short, Mobius’ holding that “[c]ourts that
  have addressed this issue have consistently held that a parent may not [recover damages incurred
  by its subsidiaries]” applies equally here. Mobius, 2011 WL 3568074 at *5.

  II.    APPORTIONMENT OF DAMAGES
         Finally, Plaintiffs also misstate Defendant’s argument regarding apportionment of
  damages. Plaintiffs point out that a publisher and author may be jointly and severally liable for
  damages caused by a publication, and so there is no requirement for Plaintiffs to apportion
  damages between BuzzFeed and Steele. Opp. at 4. That may be an accurate statement of the
  law, but Defendants’ point is that Plaintiffs actually made a different choice here. Plaintiffs
  provided sworn interrogatory responses that they were not seeking to recover their total losses
  from Defendants, and so the damages they claimed in their interrogatory responses were subject
  to being apportioned between Steele and Defendants. Presumably, they did that because if they
  are seeking all of their damages from the publication of the Dossier in this case, they would have
  no basis to also maintain a lawsuit against Steele since it would by definition be seeking a double
  recovery.
         This is not a minor technicality. Plaintiffs are now demanding the right to seek damages
  they swore that they would not seek. As a result, Plaintiffs’ interrogatories expressly said that
  any numbers included in the responses were not what Plaintiffs were actually seeking to recover,
  because they were subject to apportionment. Now, however, Plaintiffs apparently maintain that
  those numbers are final and they are seeking all damages from Defendants. This they cannot do.
  Mana v. Cho, 147 So.3d 1098, 1100 (Fla. Dist. Ct. App. 2014) (confirming that a plaintiff is
  bound by its interrogatory response regarding damages).
                                             CONCLUSION
         For the reasons set forth herein, Defendants respectfully request that this Court grant
  Defendants’ motion in limine No. 4, and exclude Plaintiffs from offering evidence and argument
  about damages, if any, actually incurred by corporations other than Plaintiffs XBT Holding S.A.
  and Webzilla, Inc. themselves.




                                                   7
Case 0:17-cv-60426-UU Document 353 Entered on FLSD Docket 11/20/2018 Page 8 of 9




  Dated: November 20, 2018      Respectfully submitted,

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                                        8
Case 0:17-cv-60426-UU Document 353 Entered on FLSD Docket 11/20/2018 Page 9 of 9




                                   CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 20th day of November, 2018.



                                                By: /s/ Adam Lazier
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